         Case 19-14648-amc                       Doc          Filed 07/29/24 Entered 07/29/24 10:31:20                              Desc Main
                                                              Document      Page 1 of 5
 Fill in this information to identify the case:

  Debtor 1              Dennis R. Morales

  Debtor 2              Ericka L Morales
  (Spouse, if filing)


  United States Bankruptcy Court for the: Eastern District of Pennsylvania
                                                                                  (State)
  Case number           19-14648-amc




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15
If the debtor's plan provides for payment of post-petition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

   Name of creditor: NEW RESIDENTIAL MORTGAGE LOAN                                   Court claim no. (if known): 7
                     TRUST 2017-1
                                                                                     Date of payment change:
                                                                                     Must be at least 21 days after date       09/01/2024
   Last 4 digits of any number you use to                                            of this notice
   identify the debtor's account:                             XXXXXX4871

                                                                                     New total payment:                        $ 576.26
                                                                                     Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
             No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                  the basis for the change. If a statement is not attached, explain why:

                        Current escrow payment:           $                                        New escrow payment: $



Part 2:         Mortgage Payment Adjustment

 2.      Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
         variable-rate account?
             No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                  attached, explain why:

                        Current interest rate             10.375             %                     New interest rate:      10.500           %

                        Current principal and interest payment: $418.33                            New principal and interest payment: $420.24


Part 3:         Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
             No
             Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                        Reason for change:
                        Current mortgage payment:         $                                        New mortgage payment: $




Official Form 410S1                                                    Notice of Mortgage Payment Change                                        page 1
       Case 19-14648-amc                      Doc         Filed 07/29/24 Entered 07/29/24 10:31:20                         Desc Main
                                                          Document      Page 2 of 5
Debtor 1         Dennis R. Morales                                                  Case number (if known) 19-14648-amc
                 First Name     Middle Name       Last Name




Part 4:       Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
           I am the creditor.
           I am the creditor's attorney or authorized agent.

    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




    /s/ Roger Fay, Esq., ID No. 315987                                                   Date July 29, 2024
    Signature


    Print:             Roger Fay, Esquire                                               Title   Attorney for Creditor
                       First Name                 Middle Name Last Name


    Company            Albertelli Law


    Address            14000 Commerce Parkway, Suite H
                       Number          Street
                       Mount Laurel                            NJ        08054
                       City                                    State     ZIP Code


Contact phone (856) 724-1888                                                        Email: rfay@alaw.net




Official Form 410S1                                              Notice of Mortgage Payment Change                                 page 2
Case 19-14648-amc   Doc   Filed 07/29/24 Entered 07/29/24 10:31:20   Desc Main
                          Document      Page 3 of 5
Case 19-14648-amc   Doc   Filed 07/29/24 Entered 07/29/24 10:31:20   Desc Main
                          Document      Page 4 of 5
Case 19-14648-amc         Doc     Filed 07/29/24 Entered 07/29/24 10:31:20           Desc Main
                                  Document      Page 5 of 5

                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:
      Dennis R. Morales and Ericka L Morales,        Bankruptcy No. 19-14648-amc
                 Debtors,                            Chapter 13

 NEW RESIDENTIAL MORTGAGE LOAN
 TRUST 2017-1,
               Secured Creditor,

 Dennis R. Morales and Ericka L Morales,
                  Debtors / Respondents,

 and
 SCOTT F. WATERMAN,
               Trustee / Respondent.

                                CERTIFICATION OF SERVICE

       Roger Fay, Esquire counsel for NEW RESIDENTIAL MORTGAGE LOAN TRUST
2017-1, hereby certifies that a copy of the NOTICE OF MORTGAGE PAYMENT CHANGE
was served upon the following persons via electronic transmission or by regular first-class mail,
postage pre-paid on July 29, 2024, addressed as follows:

 SCOTT F. WATERMAN                                MICHAEL A. CIBIK
 Chapter 13 Trustee                               Cibik Law, P.C.
 2901 St. Lawrence Ave.                           1500 Walnut Street
 Suite 100                                        Suite 900
 Reading, PA 19606                                Philadelphia, PA 19102
 via electronic transmission and regular mail     via electronic transmission and regular mail
 Dennis R. Morales                                Ericka L Morales
 3820 Palmetto Street                             3820 Palmetto Street
 Philadelphia, PA 19124                           Philadelphia, PA 19124
 via regular mail                                 via regular mail

                                                  ALBERTELLI LAW

 DATED: July 29, 2024                             By: /s/ Roger Fay, Esq., ID No. 315987
                                                  14000 Commerce Parkway, Suite H
                                                  Mount Laurel, NJ 08054
                                                  rfay@alaw.net
                                                  (856) 724-1888
                                                  Attorneys for Secured Creditor
